Case 15-10098-JDW     Doc 73   Filed 11/13/19 Entered 11/13/19 14:55:09        Desc Main
                               Document     Page 1 of 1


_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________



             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                               CHAPTER 13 CASE NO.:

RONNIE AYERS                                                    15-10098-JDW

                          FINAL ORDER OF DISMISSAL

      THIS MATTER came before the Court upon the Debtor’s failure to comply

with Agreed Order Denying Motion to Dismiss (Dkt. #65) (Dkt. #69), and the Court

being advised that the Debtor has become more than thirty (30) days delinquent in

Chapter 13 plan payments.

      IT IS THEREFORE ORDERED that this case shall be and is hereby

dismissed.

                                ##END OF ORDER##

SUBMITTED BY:

/s/ W. Jeffrey Collier
ATTORNEYS FOR TRUSTEE
W. Jeffrey Collier (MSB 10645)
Melanie T. Vardaman (MSB 100392)
6360 I-55 North, Suite 140
Jackson, Miss. 39211
(601) 355-6661
ssmith@barkley13.com
